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                       IN TBE CIRCUIT COURT Ol' JACKSON COUNTY,                    ~SA!!~ ~ , '~ ,
                                                  CIVIL DIVISION                          ~         !         5; .· ... ~

          QUAKE LEWELLYN
                                                                                          I P~AI~IF~'.                          .. .


          vs.                                   CASE NO.:     tJ/~~ - I ~.3               I         I         '°

          SHELTER MUTUAL INSURANCE COMPANY                                                        DEFENDANT

                                                     COMPLAINT

                  COMES now the Plaintiff, by and through his attorneys, Pettie & Meitzen, PLLC, and for

          his Complaint against Defendant, states:

                                           I. VENUE & JURISDICTION

                  1.      That Plaintiff Quake Lewellyn (hereinafter "Plaintiff') is an individual and a

          resident of Jackson County, Arkansas.

                  2.      That Defendant Shelter Mutual Insurance Company (hereinafter "Shelter") is a

           foreign for-profit corporation conducting business in the state of Arkansas.

                  4.      That the act(s) and/or omission(s) which gave rise to this lawsujt occurred in

           Jackson County, Arkansas.

                  6.      That, in light of the foregoing, this Court is the proper venue and has jurisdiction

           over the subject matter and persons herein described.

                                                      II. FACTS

                  7.      That the Plaintiff is engaged in row crop farming operations in Jackson County,

           Arkansas.




                                                                                                                               EXHIBIT

                                                                                                                IA
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                  8.     That Plaintiff obtained from Defendant and Defendant issued to Plaintiff a policy

          of insurance described as Inland Marine Policy No. 03-XX-XXXXXXX-1, effective March 24, 2016,

          a copy of which is attached hereto as Exhibit A and incorporated herein by reference.

                  9.      That the afore-described policy included coverage for a John Deere 9870 STS

          Combine (hereinafter the "Combine").

                  10.     That on or around October 10, 2016, Plaintiff's Combine suffered extensive

           internal damage, the repair bill for which is Cllrrently $24,627 .17. An Invoice from Greenway

           Equipment, Inc., who conducted the repairs, is attached hereto as Exhibit B and incorporated

           herein by reference.
                   11.    That Defendant ascribed to the claim for the damage described in the preceding

           paragraph Claim No. PIOOOOOO 1716990, and denied said claim, denying that coverage for the

           loss exists under the policy.

                   12.    Defendant has denied said claim despite having paid an identical claim, similar in

           dollar amount, in July of 2016 arising from an identical loss occurring in November of 2015

           under a previous policy of insurance substantially similar to that now in force.

                                   III. COUNT ONE-BREACH OF CONTRACT

                   13.    That Defendant has engaged in a course of conduct and dealing sufficient to

           waive any policy provision under which it may now deny coverage for the present claim, and

           should be estopped from so denying the present claim.

                   14.     That despite Plaintiff's claim and request for re-consideration Defendant has

           twice denied Plaintiff's claim.
                   15.     That after the damage to the Combine on or around October 10, 2016, agents of

           Defendant assured Plaintiff that coverage existed and said claim should be paid by Defendant.
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                     16.   That Plaintiff reasonably and necessarily relied upon the Defendant's past course

           of dealing and Defendant's agents' representations regarding coverage.

                     17.   That Defendant has improperly denied Plaintiff's claim for the loss, Plaintiff is

           damaged by said denial, and Defendant is therefore in material breach of contract.

                     18.   Therefore, Plaintiff should be awarded $24,627.17 for the loss, together with all

           other such damages, costs, expenses, foes, and interest allowable under the applicable law.

                     19.   Additionally, should Plaintiff prevail in this claim within 20% of the amount

           claimed, Plaintiff should be awarded 12% in additional damages per Ark. Code Ann. § 23- 79-

           208(d),

                                        IV. COUNT TWO-TORT OF BAD FAITH

                     20.   That Defendant has wrongfully denied the Plaintiff full compensation under the

           policy.

                     21.   That Defendant knew or should have known that Plaintiff would rely on its past

           course of conduct and dealing under the policy and the representations ofits agents.

                     22.   That the Defendant's behavior constitutes an attempt by the carrier to avoid its

            liability under the policy as agreed by the parties and solidified by past course of dealing.

                     23.   That because Defendant is a licensed insurer with agents in the State of Arkansas,

            Plaintiff reasonably relied upon its past course of dealing and the representations of its agents.

                     24.   That due to the Defendant's improper denial, Plaintiff has not been compensated

           for the loss, and is therefore injured in an amonnt equal to the total loss and other damages

           suffered.

                     25.   That Plaintiffs should be awarded compensatory damages in the amount of

           $24,627 .17 for bad faith.
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                          That Defendants' conduct was willful or wanton and therefore punitive damages
                  26.
          should be awarded in an amount exceeding the amount required for federal diversity jurisdiction

          for the tort of bad faith.
                                 V. REQUEST FOR JURY TRIAL I AMENDMENT

                  27.      That Plaintiff requests a trial by jury.

                  28.      That Plaintiff expressly reserves the right to amend this Complaint to assert or

           withdraw additional damage claims and causes of action as discovery progresses and additional

           facts and circumstances become known.

                   WHEREFORE, Plaintiff prays:

                     1)    for Judgment against Defendants in the amount of $24,627.17 representing the

           amount of loss due to the Plaintiff for the Defendant's acts which constituted;

                           a)          breach of contract, and/or/ or altematively;

                           b)          bad faith;

                     2)    for an additional award of 12% on any swn adjudged by this Court that is within

           20% of the amount claimed by Plaintiff on the policy per Arkansas Code Annotated § 23-79-

           208(d);
                     3)     for punitive damages in amount exceeding the amount which is required for

           federal diversity jurisdiction;

                     4)     for all incidental and consequential damages that are proven at trial;

                     5)     for pre-judgment and post-judgment interest at the highest rate permitted by law;

                     6)     for attorney's fees and costs; and for any and all other relief to which Plaintiff~

            may be entitled at law or equity, whether or not specifically prayed for herein.
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                                                              Respec{fully submitted,

                                                              Quake Lewellyn, Plaintiff
                                                              By his attorneys:
                                                              PETTIE & MEITZEN, PLLC
                                                              P.O. Box 1618
                                                              Newport, AR 72112
                                                              (870) 201-1600
                                                              (800) 350-1065 Fax
                                                              john@pettieandmeitzen.com



                                                       By:
                                                              John . Pettie
                                                              Ark sas Bar No. 2009188


                                                 VERIFICATION

           STATE OF ARKANSAS

           COUNTY OF JACKSON

                  I, Quake Lewellyn, Plaintiff herein, state upon oath that the statements contained in the

           above and foregoing pleading and all exhibits and anachments thereto are true and correct to the

           best ofrny knowledge and belief.




                SWORN AND SUBSCRIBED before me, a Notary Public, this                      ~/
                                                                                                r
                                                                                                _ day of
           November, 2016.
